        Case 1:17-cv-03392-TWT Document 24 Filed 01/05/18 Page 1 of 5




                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

AMY EVERETT and TJELVAR EVERETT             *
                                            *
              Plaintiffs,                   *
v.                                          *       CIVIL ACTION
                                            *       NO. 1:17-CV-3392-TWT
COBB COUNTY, GEORGIA; OFFICER               *
JAMES W. HOPKINS, in his individual         *
Capacities; and LANI MESHELLA               *
MILLER, in her individual capacity;         *
                                            *
              Defendants.                   *
                                            *

                   CERTIFICATE OF INTERESTED PERSONS
                                   and
                   CORPORATE DISCLOSURE STATEMENT

       The undersigned, Counsel for Plaintiffs certifies that the following is a full

and complete list of the parties in this action including any parent corporation and

any publicly held corporation that owns 10% or more of the stock of a party:

Name                                    Identification & Relationship

Amy Everett                             Plaintiff

Tjelvar Everett                         Plaintiff

Cobb County, Georgia                    Defendant

James W. Hopkins                        Defendant


                                           1
          Case 1:17-cv-03392-TWT Document 24 Filed 01/05/18 Page 2 of 5




Lani Meshella Miller                    Defendant

Mike Boyce                              Cobb County Commissioner

Bob Weatherford                         Cobb County Commissioner

Bob Ott                                 Cobb County Commissioner

JoAnn Birrell                           Cobb County Commissioner

Lisa Cupid                              Cobb County Commissioner

      The undersigned further certifies that the following is a full and complete list

of all other persons, associations, firms, partnerships, or corporations having either

a financial interest in or other interest which could be substantially affected by the

outcome of this particular case: Plaintiff is without a position or capacity to answer

this question and assumes Defendant will provide relevant information.

      The undersigned further certifies that the following is a full and complete list

of all persons serving as attorneys for the parties in this proceeding:

      John Batson, Attorney for Plaintiff.

      Attorney for County Defendants:
      Eddie Snelling, Jr.
      Georgia Bar # 665725
      WILLIAM ROWLING, JR.
      browling@cobbcounty.org
      Cobb County Attorney’s Office
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                                           2
      Case 1:17-cv-03392-TWT Document 24 Filed 01/05/18 Page 3 of 5




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     Marietta, Georgia 30060
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     Respectfully submitted this 5th day of January, 2018.

                                           /s/ John P. Batson
                                           John P. Batson
                                           Ga. Bar No. 042150
                                           Attorney for Plaintiffs

Prepared by:
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                                       3
        Case 1:17-cv-03392-TWT Document 24 Filed 01/05/18 Page 4 of 5




                           CERTIFICATE OF SERVICE

       This is to certify that the undersigned attorney did this date serve a copy of
the within and foregoing document upon all counsel of record by one or more of
the following method(s):

            Depositing the same with a commercial expedited delivery service
      thereon to the following address(es):

             Delivering a copy to counsel by hand to the following address(es):

             Faxing a copy of the same to the following Fax No(s).:

             E-mailing a copy of the same to:

                    Richard Nolan Blevins, Jr.
                    Blevins and Hong, P.C.
                    Email: richardblevins@cobbcountylaw.com

                    H. WILLIAM ROWLING, JR.
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                    EDDIE SNELLING, JR.
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      Respectfully submitted this 5th day of January, 2017.

                                               __________________
                                               /s/ John P. Batson
                                               John P. Batson
                                               Ga. Bar No. 042150
                                               Attorney for Plaintiff
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                                           4
      Case 1:17-cv-03392-TWT Document 24 Filed 01/05/18 Page 5 of 5




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                                   5
